Case: 1:19-cv-00145-DAP Doc #: 538 Filed: 02/28/20 1 of 3. PagelD #: 12252

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

DIGITAL MEDIA SOLUTIONS, LLC CASE NO. 1:19-cv-145

Plaintiff, JUDGE DAN AARON POLSTER
Vs.

SOUTH UNIVERSITY OF OHIO, LLC,
etal,

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Defendant. )
APPLICATION OF MARK E. DOTTORE, RECEIVER FEES AND EXPENSES
FOR THE PERIOD OF MAY 11, 2019 THROUGH DECEMBER 31, 2019
I, Mark E. Dottore, the duly appointed and acting Receiver (the “Receiver” or
“Mr. Dottore”) does hereby move this Court for approval of the fees and
expenses in the above named case. This Court appointed Mark E. Dottore as
Receiver pursuant to an order of this Court on January 18, 2019. The fees
billed by Mark E. Dottore, Receiver are as indicated on the invoices covering
the period of May 11, 2019 through December 31, 2019, and attached hereto

as Exhibit A.
Case: 1:19-cv-00145-DAP Doc #: 538 Filed: 02/28/20 2 of 3. PagelD #: 12253

Mark E. Dottore, Receiver’s fees and expenses arising during the time period of
May 11, 2019 through December 31, 2019, are detailed as follows:

Fees Expenses
May 11, 2019 - Dec. 31, 2019 880,895.00 $2115.66

TOTAL $880,895.00 $2,115.66

All of the above listed fees have been incurred by Mark E. Dottore,
Receiver in connection with the above captioned matter.

Wherefore, the Receiver prays for the court’s approval of compensation in
the amount of $880,895.00 and reimbursement of expenses in the amount of $2,115.66,

for the period of May 11, 2019 through December 31, 2019.

Respectfully Submitted,

By: /s/ Mark E. Dottore

Mark E. Dottore
Case: 1:19-cv-00145-DAP Doc #: 538 Filed: 02/28/20 3 of 3. PagelD #: 12254

CERTIFICATE OF SERVICE
[hereby certify that on February 28, 2020, a true and correct copy of the foregoing Fee
Application was filed electronically. Notice of this filing will be sent by operation of the
Court’s electronic filing system to all parties on the Electronic Mail Notice List. Parties

may access this filing through the Court’s system

/s/ Mark E. Dottore

Mark E. Dottore
